            Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 1 of 13




                          IN THE UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

MARK ORTEGA, individually and on                               Case No. 5:24-cv-573
behalf of all others similarly situated,
                                                               CLASS ACTION COMPLAINT

                 Plaintiff,                                    DEMAND FOR JURY TRIAL

v.

CORNERSTONE AUTO PROTECTION
INC. and CALL HANDLES, LLC,


                 Defendants,


                          PLAINTIFF’S CLASS ACTION COMPLAINT

          Plaintiff, Mark Ortega (“Plaintiff” or “Ortega”) brings this Class Action Complaint and

Demand for Jury Trial against Defendant Cornerstone Auto Protection Inc.               (“Defendant

Cornerstone” or “Cornerstone”) and Defendant Call Handles, LLC (“Defendant Call Handles” or

“Call Handles”) (collectively “Defendants”) to stop the Defendants from violating the Telephone

Consumer Protection Act (“TCPA”) by making telemarketing calls to consumers without consent

including calls to phone numbers that are registered on the National Do Not Call registry (“DNC”).

          Plaintiff also seeks injunctive and monetary relief for all persons injured by Defendants’

conduct. Plaintiff, for this Complaint, alleges as follows upon personal knowledge as to himself

and his own acts and experiences, and, as to all other matters, upon information and belief,

including investigation conducted by his attorneys.

                                      I.      PARTIES

     1.       Plaintiff is a resident of San Antonio, Texas.

     2.       Defendant Cornerstone is a California corporation.



                                            Complaint - 1
            Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 2 of 13




    3.       Defendant Call Handles is a California limited liability company.

                             II.     JURISDICTION AND VENUE

    4.       Jurisdiction. This Court has federal question subject matter jurisdiction over this

action under 28 U.S.C §1331, as the action arises under the Telephone Consumer Protection Act,

47 U.S.C. §227 (“TCPA”). The Court also has supplemental jurisdiction because the Texas

Telephone Solicitation Act (“TTSA”) claim relates to the same telemarketing campaign as the

TCPA.

    5.       Personal Jurisdiction. This Court has personal jurisdiction over the Defendants

because the Defendants transact business in this District and place calls to consumers into this

District.

    6.       Venue. Venue is proper in this District under 28 U.S.C § 1391(b) because the Plaintiff

resides in this District and the wrongful conduct giving rise to this case was directed into this

District.

                                      III.     INTRODUCTION

    7.       In 1991, Congress enacted the TCPA in response to a growing number of consumer

complaints regarding certain telemarketing practices.

    8.       The TCPA makes it unlawful to make any call (other than a call made for emergency

purposes or made with the prior express consent of the called party) using an automatic telephone

dialing system or an artificial or prerecorded voice to any telephone number assigned to a cellular

telephone service or that is charged per the call. See 47 U.S.C. § 227(b)(1)(A)(iii).

    9.       The TCPA provides a private right of action against any entity that makes calls in

violation of 47 U.S.C. § 227(b)(1)(A) or 47 U.S.C. § 227(b)(1)(B) or “on whose behalf” such calls

are made. See 47 U.S.C. § 227(b)(3).



                                             Complaint - 2
           Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 3 of 13




    10.      In 2013, the FCC required prior express written consent for all autodialed or

prerecorded telemarketing calls (“robocalls”) to wireless numbers and residential lines. It

specifically ordered that:

             [A] consumer’s written consent to receive telemarketing robocalls must be
             signed and be sufficient to show that the consumer: (1) received “clear and
             conspicuous disclosure” of the consequences of providing the requested
             consent, i.e., that the consumer will receive future calls that deliver
             prerecorded messaged by or on behalf of a specific seller; and (2) having
             received this information, agrees unambiguously to receive such calls at a
             telephone number the consumer designates.[] In addition, the written
             agreement must be obtained “without requiring, directly or indirectly, that the
             agreement be executed as a condition of purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991, 27 F.C.C.

Rcd. 1830, 1844 (2012).

    11.     Moreover, Texas law, under section 302.101 of the Texas Business & Commerce

Code, prohibits sellers from engaging in telephone solicitation from a location in Texas or to a

purchaser located in Texas unless the seller obtains a registration certificate from the Office of the

Secretary of State.

    12.     Section 302.302(d) provides that the party bringing the action is also entitled to recover

all reasonable cost of prosecuting the action, including court costs and investigation costs,

deposition expenses, witness fees, and attorneys’ fees.

                                 IV.     FACTUAL ALLEGATIONS

    13.      Cornerstone sells vehicle protection plans.

    14.      To generate business through sales, Cornerstone relies on telemarketing by third

parties, such as Call Handles.

    15.      Plaintiff is an individual who was in Texas at the time of the calls.




                                            Complaint - 3
            Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 4 of 13




    16.      Plaintiff is the subscriber and the sole user of the cellular phone number (210)-744-

XXXX.

    17.      Plaintiff registered his phone number on the Do Not Call Registry more than 30 days

prior to receiving the calls at issue.

    18.      Plaintiff uses his cell phone primarily for personal, residential, and household

purposes.

    19.      Plaintiff never consented to receive telemarketing communications from Defendants.

    20.      Upon information and belief, Call Handles placed telemarketing calls to Plaintiff’s

number on February 28, 2024.

    21.      When Plaintiff answered the call, there was a distinct pause and delay before anyone

answered.

    22.      This type of computer dialing demonstrates that the dialing system at issue has present

capacity to generate random sequential or sequential numbers, since the dialer is not ready to have

the call recipient talk to someone while it is stopping its output of generation of numbers.

    23.      Upon information and belief, Call Handles, on behalf of Cornerstone, transmitted a

non-working number for a Caller ID.

    24.      Cornerstone was not identified either through Caller ID or at the start of the

telemarketing call, thus the Plaintiff went through the telemarketing process so he could identify

the company.

    25.      During the call, a customer representative from Call Handles spoke with Plaintiff and

asked a few questions about auto protection. The call was then transferred to Cornerstone.

    26.      At the time of the calls, Defendants did not have a registration certificate from the

Office of the Secretary of State of Texas.




                                             Complaint - 4
          Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 5 of 13




   27.      On or about February 28, 2024, Plaintiff’s attorney sent a letter to Defendants stating

that Plaintiff is registered in the National Do Not Call Registry, did not consent to receiving

communications from Defendant, and demanding damages. The emails went unanswered.

   28.      The unauthorized telephonic communications that Plaintiff received from Defendants,

as alleged herein, have harmed the Plaintiff in the form of annoyance, nuisance, and invasion of

privacy, and occupied and otherwise disturbed the use and enjoyment of his phone.

   29.      Seeking redress for these injuries, Plaintiff, on behalf of himself and Classes of

similarly situated individuals, bring suit under the TCPA.

                      Cornerstone’s Liability for Call Handle’s Conduct

   30.      For more than twenty years, the Federal Communication Commission (“FCC”) has

explained that its “rules generally establish that the party on whose behalf a solicitation is made

bears ultimate responsibility for any violations.” In the Matter of Rules & Regulations

Implementing the Telephone Consumer Protection Act of 1991, 10 FCC Rcd. 12391, 12397, ¶ 13

(1995).

   31.      On May 9, 2013, the FCC released a Declaratory Ruling holding that a corporation or

other entity that contracts out its telephone marketing “may be held vicariously liable under federal

common law principles of agency for violations of either section 227(b) or section 227(c) that are

committed by third-party telemarketers.” In re Joint Petition Filed by DISH Network, LLC et al.

for Declaratory Ruling Concerning the TCPA Rules, 28 FCC Rcd 6574, 6574 ¶ 1 (2013) (“May

2013 FCC Ruling”).

   32.      The Federal Communication Commission has instructed that sellers may not avoid

liability by outsourcing telemarketing to third parties:

            [A]llowing the seller to avoid potential liability by outsourcing its
            telemarketing activities to unsupervised third parties would leave consumers



                                           Complaint - 5
           Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 6 of 13




            in many cases without an effective remedy for telemarketing intrusions. This
            would particularly be so if the telemarketers were judgment proof,
            unidentifiable, or located outside the United States, as is often the case. Even
            where third-party telemarketers are identifiable, solvent, and amenable to
            judgment limiting liability to the telemarketer that physically places the call
            would make enforcement in many cases substantially more expensive and less
            efficient, since consumers (or law enforcement agencies) would be required to
            sue each marketer separately in order to obtain effective relief. As the FTC
            noted, because “[s]ellers may have thousands of ‘independent’ marketers, …
            suing one or a few of them is unlikely to make a substantive difference for
            consumer privacy.”

May 2013 FCC Ruling, 28 FCC Rcd. at 6588, ¶ 37 (internal citations omitted).

   33.      The May 2013 FCC Ruling held that, even absent evidence of a formal contractual

relationship between the seller and the telemarketer, a seller is liable for telemarketing calls if the

telemarketer “has apparent (if not actual) authority” to make the calls. Id. At 6586, ¶ 34.

   34.      The May 2013 FCC Ruling further clarifies the circumstances under which a

telemarketer has apparent authority:

              [A]pparent authority may be supported by evidence that the seller allows the
               outside sales entity access to information and systems that normally would
               be within the seller’s exclusive control, including: access to detailed
               information regarding the nature and pricing of the seller’s products and
               services or to the seller’s customer information. The ability by the outside
               sales entity to enter consumer information into the seller’s sales or customer
               systems, as well as the authority to use the seller’s trade name, trademark
               and service mark may also be relevant. It may also be persuasive that the
               seller approved, wrote or reviewed the outside entity’s telemarketing scripts.
               Finally, a seller would be responsible under the TCPA for the unauthorized
               conduct of a third-party telemarketer that is otherwise authorized to market
               on the seller’s behalf if the seller knew (or reasonably should have known)
               that the telemarketer was violating the TCPA on the seller’s behalf and the
               seller failed to take effective steps within its power to force the telemarketer
               to cease that conduct.

Id. at 6592, ¶ 46.

   35.      Cornerstone hired Call Handles to originate new business using telemarketing calls.




                                            Complaint - 6
          Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 7 of 13




   36.      Cornerstone accepted the benefits of Call Handles’ illegal telemarketing by taking live

transfers of leads directly from Call Handles.

   37.      Cornerstone failed to take effective steps within its power to force Call Handles to

cease calling consumers that were registered in the Do Not Call Registry.

   38.      By having Call Handles initiate the calls on its behalf to generate new business,

Cornerstone “manifest[ed] assent to another person … that the agent shall act on the principal’s

behalf and subject to the principal’s control” as described in the Restatement (Third) of Agency.

   39.      Moreover, the May 2013 FCC Ruling states that called parties may obtain “evidence

of these kinds of relationships --which consumers may acquire through discovery, if they are not

independently privy to such information.” Id. at 6592-593, ¶ 46. Evidence of circumstances

pointing to apparent authority on behalf of the telemarketer “should be sufficient to place upon the

seller the burden of demonstrating that a reasonable consumer would not sensibly assume that the

telemarketer was acting as the seller’s authorized agent.” Id. at 6593, ¶ 46.

                             V.      CLASS ACTION ALLEGATIONS

   40.      Plaintiff brings this action pursuant to Federal Rules of Civil Procedure § 23(b)(2) and

23(b)(3) and seeks certification of the following Classes:

            TCPA 227(b) Class: Since February 28, 2020, through the date of
            certification, Plaintiff and all persons within the United States to whose cellular
            telephone number Defendants placed (or had placed on its behalf) a pre-
            recorded or artificial voice telemarketing call.

            Texas § 302.101 Class: Since February 28, 2020, through the date of
            certification, Plaintiff and all residents of the State of Texas to whose telephone
            number Defendants placed (or had placed on their behalf) telephone
            solicitations when Defendants did not hold a registration certificate as required
            by Tex. Bus. & Com. Code § 302.101.




                                           Complaint - 7
              Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 8 of 13




    41.         Defendants and its employees or agents are excluded from the Class. Plaintiff

reserves the right to modify or amend the Class definition, as appropriate, during the course of this

litigation.

    42.         Plaintiff brings all claims in this action individual and on behalf of Class Members

against Defendants.

                                             Numerosity

    43.        Members of the Class are so numerous that their individual joinder is impracticable.

    44.        On information and belief, based on the practices and technology used to call and

message Plaintiff, Members of the Class number in the thousands.

    45.        The precise number of Class Members and their identities are unknown to Plaintiff at

this time but may be determined through discovery.

    46.        Class Members may be notified of the pendency of this action by mail and/or

publication through the distribution records of Defendants.

                                            Commonality

    47.        Common questions of law and fact exist as to all Class Members and predominate

over questions affecting only individuals Class Members.

    48.        Common legal and factual questions, include, but are not limited to, whether

Defendants has violated the Telephone Consumer Protection Act or Texas Telephone Solicitation

Act, and whether Class Members are entitled to actual and/or statutory damages for the

aforementioned violations.




                                            Complaint - 8
           Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 9 of 13




                                               Typicality

   49.         The claims of the named Plaintiff are typical of the claims of the Class because the

named Plaintiff, like all other Class Members, received unsolicited telephonic sales calls from the

Defendants without giving them his consent to receive such calls.

                                     Adequacy of Representation

   50.         Plaintiff is an adequate representative of the Class because his interests do not conflict

with the interests of the Class Members he seeks to represent, he has retained competent counsel,

and he intends to prosecute this action vigorously.

   51.         The interest of Class Members will be fairly and adequately protected by Plaintiff and

her counsel.

                                               Superiority

   52.         The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Class Members.

   53.         Many of the Class Members likely lack the ability and/or resources to undertake the

burden and expense of individually prosecuting what may be a complex and extensive action to

establish Defendants’ liability.

   54.         Individualized litigation increases the delay and expense to all parties and multiplies

the burden on the judicial system. This strain on the parties and the judicial system would be

heightened in this case, given the complex legal and factual issues at play.

   55.         Individualized litigation also presents a potential for inconsistent or contradictory

judgments.




                                              Complaint - 9
          Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 10 of 13




   56.      In contrast, the class action device presents far fewer management difficulties and

provides the benefits of single adjudication, economy of scale, and comprehensive supervision by

a single court on the issue of Defendants’ liability.

   57.      Class treatment of the liability issues will ensure that all claims and claimants are

before this Court for consistent adjudication of the liability issues.

                                FIRST CAUSE OF ACTION
                            Telephone Consumer Protection Act
                               (Violation of 47 U.S.C. 227(b))
                      (On Behalf of Plaintiff and the TCPA 227(b) Class)

   58.      Plaintiff repeats and incorporates the allegations set forth in paragraphs 1 through 57

of this Complaint and incorporates them by reference herein.

   59.      The TCPA’s implementing regulation, 47 USC § 227(b), provides that [i]t shall be

unlawful for any person within the United States, or any person outside the United States if the

recipient is within the United States … to initiate any telephone call to any residential telephone

line using an artificial or prerecorded voice to deliver a message without the prior express consent

of the called party, unless the call is initiated for emergency purposes, is made solely pursuant to

the collection of a debt owed to or guaranteed by the United States, or is exempted by rule or order

by the Commission under paragraph (2)(B).” § 227(b)(B).

   60.      TCPA grants a private right of action to individuals based on a violation of § 227(b)

or the regulations prescribed under § 227(b). 47 U.S.C § 227(b)(3). Even one instance of a violation

of 227(b) is actionable in the Fifth Circuit. See Cranor v. 5 Star Nutrition, L.L.C., 998 F.3d 686,

689-91 (5th Cir. 2021).

   61.      As a result of Defendants’ conduct as alleged herein, Plaintiff and the Do Not Call

Registry Class suffered actual damages and, under section 47 U.S.C. § 227(b)(3), are entitled, inter

alia, to receive up to $500 in damages for such violation.



                                           Complaint - 10
             Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 11 of 13




    62.       To the extent Defendants’ misconduct is determined to be willful and knowing, the

Court should, pursuant to 47 U.S.C. § 227(b)(3), treble the amount of statutory damages

recoverable by the members of the Do Not Call Registry Class.

                                     SECOND CAUSE OF ACTION
                         Violation of Texas Regulation of Telephone Solicitation
                                   Tex. Bus. & Com. Code Ann. § 302
                         (On Behalf of Plaintiff and the Texas § 302.101 Class)

    63.       Plaintiff repeats and realleges the prior paragraphs of this Complaint and incorporates

them by reference herein.

    64.       Section 302.101(a) of Texas Business and Commerce Code requires sellers that makes

a telephone solicitation from a location in Texas or to a purchaser located in Texas to hold “a

registration certificate for the business location from which the telephone solicitation is made.”

Moreover, the Code requires a “separate registration certificate for each business location from

which a telephone solicitation is made.” See id (b).

    65.       In violation of the Code, Defendants made telephonic solicitations to Plaintiff and

Class Members without having a registration certificate for each business location at the time of

the calls.

    66.       Section 302.303(b) creates a “private right or remedy … to enforce this chapter.”

    67.       As a result of Defendants’ conduct as alleged herein, and pursuant to § 302.302(a) of

Tex. Bus. & Com. Code, Plaintiff and Class members were harmed and are each entitled to a

maximum of $5,000.00 in damages for each violation.

    68.       Under § 302.302(d), Plaintiff is entitled to “recover all reasonable costs of prosecuting

the action, including court costs and investigation costs, deposition expenses, witness fees, and

attorney’s fees.”




                                            Complaint - 11
          Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 12 of 13




                                      PRAYER FOR RELIEF

            WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

following relief:

            a) Certification of the proposed Classes;

            b) Appointment of Plaintiff as representative of the Classes;

            c) Appointment of the undersigned counsel as counsel for the Classes;

            d) An order declaring that Defendant’s action, as set out above, violate the

                TCPA;

            e) An award of injunctive and other equitable relief as necessary to protect

                the interests of the Classes, including, inter alia, an order prohibiting

                Defendant from engaging in the wrongful and unlawful acts described

                herein;

            f) An award of statutory damages;

            g) An award of treble damages;

            h) An award of reasonable attorneys’ fees and costs; and

            i) Such further and other relief as the Court deems just and proper.

                                          JURY DEMAND

            Plaintiff requests a jury trial.

                                                  Respectfully Submitted,

                                                  MARK ORTEGA, individually and on behalf of
                                                  all others similarly situated,

DATED this 27th day of May 2024.

                                                  By:

                                                  ALMANZA TERRAZAS PLLC



                                               Complaint - 12
         Case 5:24-cv-00573-XR Document 1 Filed 05/27/24 Page 13 of 13




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                                           /s/ Paulina Almanza
                                            Paulina Almanza
                                            State Bar No. 24109580
                                            Attorney for Plaintiff Mark Ortega




                                    Certificate of Service

           The undersigned certifies that the foregoing document was filed electronically

through the Court’s CM/ECF system in compliance with the Local Rules.


                                                             By: /s/ Paulina Almanza
                                                                 Paulina Almanza




                                       Complaint - 13
